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Steven J. Mandelsberg, Esq.
Joseph Orbach, Esq.
THOMPSON COBURN LLP
488 Madison Avenue
New York, New York 10022
Telephone: (212) 478-7200
E-mail:     smandelsberg@thompsoncoburn.com
            jorbach@thompsoncoburn.com

Attorneys for 44 Avonwood Road Credit LLC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                                   Chapter 11
In re
                                                                   Case No. 25-41368 (JMM)
AVON PLACE LLC

                               Debtor.
---------------------------------------------------------------X

               SECURED CREDITOR 44 AVONWOOD ROAD CREDIT LLC’S
                 OBJECTION TO DEBTOR’S DISCLOSURE STATEMENT

         Secured Creditor 44 Avonwood Road Credit LLC (the “Secured Creditor” or

“Avonwood Credit”) hereby files its objection (the “Objection”) to the Disclosure Statement

[Docket No. 19] (the “Disclosure Statement”) filed by Avon Place LLC (the “Debtor”), and

respectfully represents as follows:

                                         PRELIMINARY STATEMENT

         1.        Shortly after filing this case the Debtor filed the proposed Plan [Docket No. 18]

and a bareboned Disclosure Statement which fails to: (i) accurately describe a confirmable

plan; (ii) provide proper treatment to Avonwood Credit on account of its secured claim; (iii)

describe how the Debtor intends on funding the Plan; and (iv) provide evidence that there are

sufficient funds to implement the Plan. Simply put, the Plan and Disclosure Statement were

likely filed so the Debtor could check a box that there is a Plan on file without addressing the
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substantive requirements for a Plan under the Bankruptcy Code. As the Disclosure Statement

falls well short of what is required for approval, the Court should deny the Debtor’s motion.

Before proceeding to solicitation of a Plan, the Court should require that the Debtor provide

adequate information regarding the funding of the Plan, the timing of the Effective Date, and

whether the Debtor intends to sell or refinance the Property (as defined below) including the

manner and method for accomplishing such sale or refinancing. Additionally, to the extent

the Debtor is relying on a sale or refinancing, the Debtor must provide the proposed terms

and timing of such sale or refinancing to provide parties with adequate information with

which to evaluate the Plan.

                               RELEVANT BACKGROUND

       A.     The Notes, Mortgages, and Assignments

       2.     On or about September 30, 2022, the Debtor became indebted to Bankwell

Bank (“Bankwell”), Avonwood Credit’s predecessor in interest, as evidenced by a Promissory

Note of the same date in the original principal amount of Twenty-Five Million Three

Hundred Twelve Thousand Five Hundred and 00/100 Dollars ($25,312,500.00), made

payable, together with interest, late charges, costs and expenses, as more particularly set forth

therein (the “$25,312,500 Note”) related to the property located at 44, 46, 47 & 48 Avonwood

Road, in the Town of Avon, County of Hartford and State of Connecticut (the “Property”)

owned by the Debtor.

       3.     On or about October 21, 2022, the Debtor became indebted to Bankwell as

evidenced by a Non-Revolving Line of Credit Note of the same date in the original principal

amount of Two Million Six Hundred Eighty-Seven Thousand Five Hundred and 00/100

Dollars ($2,687,500.00), made payable, together with interest, late charges, costs and




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expenses, as more particularly set forth therein (the “$2,687,500 Note”, and with the

$25,312,500 Note, the “Notes”).

      4.     As security for the $25,312,500 Note, on or about September 30, 2022, the

Debtor granted an Open-End Mortgage Deed and Security Agreement of the Property in

favor of Bankwell (the “$25,312,500 Mortgage”), which $25,312,500 Mortgage is conditioned

upon the payment of the $25,312,500 Note according to its tenor and upon the performance

of certain covenants and conditions contained in the $25,312,500 Note.

      5.     As security for the $2,687,500 Note, on or about December 15, 2022, the

Debtor granted an Open-End Mortgage Deed and Security Agreement of the Property in

favor of Bankwell, as subsequently modified (as modified, the “$2,687,500 Mortgage”, and

with the $25,312,500 Mortgage, the “Mortgages”), which $2,687,500 Mortgage is

conditioned upon the payment of the $2,687,500 Note according to its tenor and upon the

performance of certain covenants and conditions contained in the $2,687,500 Note. The

$2,687,500 Mortgage was recorded in Volume 781 at Page 503 of the Avon, Connecticut

Land Records, which $2,687,500 Mortgage was modified by a First Amendment of Note,

Open-End Mortgage and Other Loan Documents dated January 31, 2023, and recorded in

Volume 782 at Page 707 of the Avon, Connecticut Land Records, as modified by Second

Amendment of Note, Open-End Mortgage and Other Loan Documents dated May 4, 2023,

and recorded in Volume 784 at Page 736 of the Avon, Connecticut Land Records.

      6.     Additional interest in the Property was provided by virtue of an Assignment of

Leases and Rents dated September 30, 2022, and recorded in Volume 779 at Page 732 of the

Avon, Connecticut Land Records (the “Sept. 30 Assignment”), and an Assignment of Leases

and Rents dated December 15, 2022 (the “Dec. 15 Assignment”, and with the Sept. 30




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Assignment, the “Assignments”) and recorded in Volume 781 at Page 537 of the Avon,

Connecticut Land Records.

       7.     Avonwood Credit succeeded Bankwell’s rights in the Notes, Mortgages and

Assignments, and Avonwood Credit recorded the assignment of mortgages and other

instruments in Volume 800 at Pages 688-89 of the Avon, Connecticut Land Records.

       B.     The Foreclosure Action

       8.     On February 27, 2025, Avonwood Credit commenced a foreclosure action (the

“Foreclosure Action”) in Connecticut Superior Court, Judicial District of Hartford (the

“Foreclosure Court”) (Case No. HHD-CV25-6199961-S) against the Debtor through the

filing of a Summons and the Foreclosure Complaint. On that same date, Avonwood Credit

filed a Lis Pendens and a motion for a receiver (the “Receiver Motion”) which was corrected

the following day. The Receiver Motion was set to be heard to the Court on Monday, March

24, 2025. On Thursday, March 20, 2025, the Debtor filed a Motion for Extension (the

“Extension Motion”) thirty days to respond to the Receiver Motion. That same day,

Avonwood Credit filed an objection to the Extension Motion.

       C.     The Bankruptcy Case and Disclosure Statement Deficiencies

       9.     The Debtor then filed its bankruptcy petition in this Court on Friday, March

21, 2025 (the “Petition Date”) in an effort to impede Avonwood Credit’s Foreclosure Action

and the Motion for a Receiver.

       10.    On April 4, 2025, the Debtor filed the Disclosure Statement. It fails to

accurately or adequately describe the claims that exist against the Debtor and the proposed

treatment of such claims, and to demonstrate the Debtor’s ability to satisfy all claims.

       11.    The Disclosure Statement states that the city of Avon, Connecticut has claims




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totalling approximately $584,403.00 (the “Avon CT Claims”) that make up Class 1 Claims.

See Disclosure Statement ¶ 9. However, the city of Avon, Connecticut has filed five (5) proofs

of claims (the “Avon CT POCs”) which total almost three times that amount, at

$1,579,471.69. See Proofs of Claims Nos. 4-8.

       12.    The Disclosure Statement also provides that Avonwood Credit is owed

approximately $28,100,785.00 as of the Petition Date (the “Avonwood Credit Claim”) as a

Class 2 Claim. See Disclosure Statement ¶ 12. But that amount is also incorrect as Avonwood

Credit is owed $35,156,668.77 as of the Petition Date exclusive of post-petition interest and

fees which it is entitled to under the terms of the Plan. See Proof of Claim No. 10 (the

“Avonwood Credit POC”). Despite admittedly being in default on the debt owed to

Avonwood Credit through the failure to make any payments on account of the Mortgages for

many months prior to the Petition Date, and despite asserting that Avonwood Credit is

oversecured per the terms of the Plan, the Debtor only includes non-default interest in the

Avonwood Credit Claim. See Disclosure Statement ¶ 12. Moreover, the treatment listed for

the Avonwood Credit Claim is both unclear and contradictory because the Disclosure

Statement provides that the Debtor shall (i) cure pre-Petition Date and post-Petition Date

monetary defaults and shall comply with the obligations under the applicable loan documents

through maturity (which is October 1, 2025), and (ii) refinance or sell the Property and prepay

amounts.     See Disclosure Statement ¶ 13.        Similarly, the Debtor proposes the same

contradictory treatment for the allowed secured claim of Altbanq Lending LLC as Class 3.

See Disclosure Statement ¶ 16.

       13.    The Disclosure Statement provides that the Debtor shall maintain an

undetermined claims distribution reserve (the “Claims Reserve”) for the holders of



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undetermined claims in a sum not less than the amount required to pay each claim if such

claim was allowed in full. See Disclosure Statement ¶ 36.

       14.    Next, the Disclosure Statement provides that Interest Holders as Class 6

Interests shall be required “to contribute the funds necessary to make Effective Date

payments.” See Disclosure Statement ¶ 25. Yet the Disclosure Statement does not provide

information regarding what contribution will be “necessary” or evidence that the Debtor’s

sole equity holder has sufficient funds to make this undefined contribution.

       15.    The Disclosure Statement also fails to provide relevant and vital information

related to (1) when the Effective Date will occur, (2) whether selling or refinancing the

Property will generate sufficient funds to consummate the proposed Plan and the justification

behind the valuation of the Property detailed in the Disclosure Statement; and (3) whether

the Claims Reserve will be funded in an amount sufficient to pay the filed claims in the

amounts as filed, to the extent such claims are not allowed on the Effective Date.

       16.    In its description of the Sources and Uses attached as Exhibit B to the

Disclosure Statement, although the numbers appear to demonstrate that the Debtor (not the

equity holder) will be funding $6,849,010.07, such information is not included in the

Disclosure Statement and not adequately explained as the reader is left to decipher what is

meant by the exhibit.     Moreover, the Debtor asserts that it will be taking a credit of

$474,744.98 related to insurance proceeds even though such credit has already been applied

to the Avonwood Credit POC filed on May 19, 2025. See Proof of Claim No. 10. Obviously,

the Debtor cannot take a credit for an amount that it already received a credit for.

       17.    Finally, based on the Sources and Uses, the Debtor evidently intends to

reinstate the Notes and Mortgages while at the same time paying off in full every other creditor




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that is junior to Avonwood Credit. No explanation is provided as to why the Debtor has

proposed such treatment or how such treatment is “fair and equitable” to Avonwood Credit.

While the “fair and equitable” standard applies to confirmation of the Plan, the Disclosure

Statement is required to clearly explain what the Debtor is proposing and why such proposal

is fair. The current Disclosure Statement does neither.

                                          OBJECTION

       A.     The Disclosure Statement Does Not Provide Adequate Information

       18.    Avonwood Credit objects to the Disclosure Statement because it is misleading

and fails to provide adequate information necessary for creditors to make an informed

judgment related to the Debtor’s proposed Plan.

       19.    One of the fundamental policies underlying the chapter 11 reorganization

process is full disclosure by a debtor. Momentum Mfg. Corp. v. employee Creditors Comm. (In re

Momentum Mfg. Corp.), 25 F.3d 1132, 1136 (2d Cir. 1994). Congress intended the disclosure

statement to be the primary source of information upon which creditors and shareholders rely

in making an informed judgment about a plan of reorganization. Id.

       20.    Pursuant to section 1125(b) of the Bankruptcy Code, a proposed disclosure

statement may not be approved by a court unless it provides “adequate information” to

holders of claims or interests. 11 U.S.C. § 1125(b). Section 1125(a)(1) defines “adequate

information” as:

       information of a kind, and in sufficient detail, as far as is reasonably practicable
       in light of the nature and history of the debtor and the condition of the debtor’s
       books and records . . .that would enable . . . a hypothetical investor of the
       relevant class to make an informed judgment about the plan . . . .

11 U.S.C. § 1125(a)(1).

       21.    The purpose of section 1125 is to assist the creditors in evaluating the plan on



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its face. Colorado Mountain Express, Inc. v. Aspen Limousine Service, Inc. (In re Aspen Limousine

Services, Inc.), 193 B.R. 325, 334 (D. Colo. 1996). For this reason, the requirement that a

disclosure statement contain adequate information is at the very “heart” of the chapter 11

reorganization process.    In re Crowthers McCall Pattern, Inc., 120 B.R. 279, 300 (Bankr.

S.D.N.Y. 1990). The importance of full disclosure is “underlaid by the reliance placed upon

the disclosure statement by the creditors and the court.” Oneida Motor Freight, Inc. v. United

Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988) (“Given this reliance, we cannot overemphasize

the debtor’s obligation to provide sufficient data to satisfy the Code standard of ‘adequate

information.’”); see also In re McLean Indus., Inc., 87 B.R. 830, 834 (Bankr. S.D.N.Y. 1987)

(“[S]ubstantial financial information with respect to the ramifications of any proposed plan

will have to be provided to, and digested by, the creditors and other parties in interest in order

to arrive at an informed decision concerning the acceptance or rejection of a proposed plan”).

Accordingly, section 1125 of the Bankruptcy Code prefers more, rather than less, clear

disclosure in a disclosure statement. In re Crowthers McCall Pattern, Inc., 120 B.R. at 300; In re

Copy Crafters Quickprint, Inc., 92 B.R. 973, 981 (Bankr. N.D.N.Y.).

       22.     More specifically, section 1125 requires that disclosure statements contain

sufficient information that would enable a “hypothetical [reasonable] investor typical of

holders of claims or interests of the relevant class to make an informed judgment about the

plan.” 11 U.S.C. § 1125(a)(1); In re Momentum Mfg. Corp., 25 F.3d at 1136; In re Crowthers

McCall Pattern, Inc., 120 B.R. at 301 (holding that disclosure statement was materially in error

which precluded confirmation).       Given the necessity for adequate information in the

Disclosure Statement and the paramount position section 1125 occupies in the chapter 11

process, “there is little, if any, room for harmless error.” In re Crowthers McCall Pattern, Inc.,



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120 B.R. at 300.

       23.     Courts in this circuit have identified a list of non-exhaustive factors that should

be disclosed in a disclosure statement, including: (i) the anticipated future of the company;

(ii) financial information, data, valuations or projections relevant to the creditors’ decision to

accept or reject the plan; and (iii) information relevant to the risks posed to creditors on the

plan. See, e.g., In re Avianca Holdings S.A., 632 B.R. 124, 130 (Bankr. S.D.N.Y. 2021). Two of

the most significant factors in considering the adequacy of information that should be

included in a disclosure statement are the amounts of the claims and value of the property to

be distributed. In re Scioto Valley Mortgage Co., 88 B.R. 168, 170-71(W.D. Ohio 1988)(“Scioto

Valley”)(establishing 19-factor test to determine adequacy of disclosure statement, including:

Factor 2 (value of assets), Factor 7 (information regarding claims against the estate) and

Factor 14 (any financial information, valuations or pro forma projections that would be

relevant to creditors’ determinations of whether to accept or reject the plan); In re Source

Enterprises, Inc., 2007 WL 7144778 at *2 (Bankr. S.D.N.Y. July 31, 2017)(citing the Scioto

Valley factors with approval).

       24.     Here, the Disclosure Statement lacks “adequate information” to satisfy the

standard under section 1125 of the Bankruptcy Code. The Disclosure Statement omits key

material facts, underlying assumptions, and factual support sufficient to assist creditors in

evaluating the Plan. Instead, the Disclosure Statement misleads and causes confusion as to

the correct amount of filed claims, the proposed treatment of claims, and the Debtor’s ability

to satisfy obligations under the Plan. These failures, as discussed herein, make it impossible

for creditors to make informed decisions about whether to support or oppose the Plan. Thus,

the Disclosure Statement should not be approved for solicitation.



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       25.    First, the Disclosure Statement misleads creditors as to the accurate amounts of

filed claims for Class 1 and Class 2. While the Disclosure Statement provides that Class 1

Claims total approximately $584,403.00, the Town of Avon filed five Proofs of Claims in the

following amounts, $46,504.24; $298,013.89; $749,232.96; $94,245.00; and $391,475.60,

totalling $1,579,471.69, nearly triple the amount described in the Disclosure Statement.

Similarly, the Disclosure Statement states that Class 2 Claims total $28,100,785.00, while

Avonwood Credit filed a Proof of Claim for $35,156,668.77. As of the date hereof, the Debtor

has not disputed or objected to the amounts as filed by the Town of Avon or by Avonwood

Credit. The Debtor has not disclosed how it arrived at its estimate for the Class 1 and Class

2 Claims.     Stating that Class 1 Claims and Class 2 Claims total $584,403.00 and

$28,100,785.00, respectively, in the Disclosure Statement is misleading and does not provide

an accurate representation of the Debtor’s claims register. Moreover, in not representing the

Debtor’s claim register accurately, the Debtor has not provided assurance that it will

sufficiently fund the Claims Reserve as required by the Disclosure Statement, which based on

the claims filed by the Class 1 and Class 2 creditors would require an additional reserve of at

least $8,050,952.46. As Class 1 and Class 2 Claims have not been adjudicated, the Debtor

must ensure the entire filed amount of the claims are reserved for in the Claims Reserve.

       26.    Additionally, the Disclosure Statement does not provide any information

regarding the funding of $6,849,010.07 shown on its “Sources and Uses” and does not address

the fact that this number is less than half the cash needed to go effective on the Debtor’s Plan

based on the filed claim amounts (assuming without conceding that the Plan is confirmable).

As it is currently drafted, it cannot be argued that the Disclosure Statement provides adequate

information regarding the amounts owed on account of Class 1 Claims or Class 2 Claims, the




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funding of the Claims Reserve or information regarding how the Plan will be funded.

        27.     Second, the Disclosure Statement is not clear as to the treatment of Class 2 and

Class 3 Claims. For both classes, the Disclosure Statement states that (1) the Debtor shall

cure pre-petition and post-petition monetary defaults and comply with the obligations under

the applicable loan documents on the Effective Date, and (2) the Debtor intends to refinance

or sell the Property and prepay all amounts on the Effective Date. Yet these two statements

are mutually exclusive because the Debtor will either be reinstating the loans or paying them

off in full on the Effective Date, although the Disclosure Statement does not explain which

choice the Debtor will select or when such election will be made.

        28.     Moreover, while the treatment listed is the same for both classes, the Sources

and Uses attached as Exhibit B to the Disclosure Statement includes a line item for Class 3 to

be paid in full on the Effective Date, but does not include a payment in full for Avonwood

Credit’s Class 2 Claim, which furthers the confusion surrounding the language incorporated

in the Disclosure Statement. Such inconsistencies contribute to the Disclosure Statement’s

failure to provide adequate information. Additionally, if the Debtor intends to pay in full all

classes on the Effective Date other than the Class 2 Claim it should state so explicitly and

explain to the Court and creditors why it proposes such treatment (which plainly appears to

violate the “fair and equitable” standard).1

        29.     Third, the Debtor has not provided any description of how it intends to

implement the Plan. The Disclosure Statement provides no information as to how the Debtor

intends to fund the payment of all claims under the Plan. While the Sources and Uses

attached as Exhibit B to the Disclosure Statement states that the Debtor will fund $6,849,010


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 Additionally, the financial projections of the Debtor must explain how the Notes and Mortgages, if
reinstated, will be satisfied at maturity which will occur in the short-term on October 1, 2025.


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(which as discussed above is woefully insufficient), the Disclosure Statement provides no

additional information as to whether the Debtor has such funds or where the Debtor will be

acquiring such funds from, and the recently filed April Monthly Operating Report shows the

Debtor has only a negligible amount of cash on hand. The Debtor does not provide a

description about the sufficiency of its funds available to satisfy all obligations under the

Disclosure Statement.

       30.    Moreover, in the Sources and Uses, the Debtor includes a credit of $474,744.00

for Insurance Claim Proceeds. However, such credit was already applied by Avonwood

Credit in the Avonwood Credit POC and the Debtor is not entitled to benefit twice from the

same credit. Based on the taking of this inappropriate credit and the discrepancy between the

filed claims and the claim amounts listed in the Disclosure Statement it appears that the

Debtor is at least $8.5 million short in the amount of cash it needs on the Effective Date

(assuming the Plan is otherwise confirmable).

       31.    Next, the Debtor provides almost no information about the valuation of the

Property and the impact of any proposed sale or refinancing of the Property on the feasibility

of the Plan. The Disclosure Statement states that the Debtor estimates that the current value

of the Property is approximately $40,000,000.00. However, the Disclosure Statement fails to

provide any other information or detail related to such valuation, including how it was valued,

who conducted the valuation, and what method of valuation was used. Creditors are simply

not provided with sufficient information to accept such valuation of the Property.

Additionally, the Debtor does not explain if the Plan is premised on a sale or refinancing of

the Property including what steps the Debtor is taking to market the Property and the timing

of when a sale or refinancing may occur and on what terms. For these reasons, the failure to




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describe and explain the impact of a potential sale or refinancing of the Property on the

Debtor’s ability to satisfy the obligations of the Debtor contained in the Plan are fatal to the

Debtor’s motion seeking approval of the Disclosure Statement.

       32.    Finally, the Disclosure Statement does not advise as to when the Effective Date

may occur including what conditions need to be satisfied. Left unclear is whether the Debtor

intends to emerge from bankruptcy this summer or intends to confirm a Plan and languish in

bankruptcy for months while it pursues a sale and/or refinancing.           Nonetheless,    the

Disclosure Statement includes a statement encouraging creditors to vote to accept the Plan

when the Disclosure Statement as drafted provides that no creditors are actually entitled to

vote on the Plan.

       33.    In short, the Disclosure Statement is riddled with contradictions and

inaccuracies which ultimately leads to creditors being misled and confused, the exact opposite

of the purpose of having a Disclosure Statement. A lack of information in the Disclosure

Statement is incompatible with the Debtor’s disclosure obligations under section 1125 of the

Bankruptcy Code. The Disclosure Statement lacks vital information necessary for creditors to

adequately evaluate the Plan and must be rejected as proposed since creditors are not

receiving an accurate picture of the Debtor’s proposed Plan.

       B.     The Plan is Patently Unconfirmable

       34.    Courts will not approve a disclosure statement that describes a “patently

unconfirmable” plan, that is, a plan that is incapable of confirmation as a matter of law. In re

Quigley Co., 377 B.R. 110, 115 (Bankr. S.D.N.Y. 2007). If a Chapter 11 plan does not comply

with Bankruptcy Code Section 1129, courts will not subject the estate to the expense of the

vote solicitation and plan confirmation process. In re Pecht, 57 B.R. 137, 139 (Bankr. E.D. Va.




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1986). In such circumstances, therefore it is “incumbent upon the [c]ourt to decline approval

of the disclosure statement and prevent diminution of the estate.” In re Pecht, 57 B.R. at 139.

           35.     In 1994, Congress amended the Bankruptcy Code and added Section 1123(d).

Bankruptcy Code Section 1123 states that a Chapter 11 plan “shall ... provide adequate means

for the plan's implementation, such as ... curing or waiving of any default.” 11 U.S.C. §

1123(a)(5)(G). Section 1123(d) provides that “if it is proposed in a plan to cure a default the

amount necessary to cure the default shall be determined in accordance with the underlying

agreement and applicable nonbankruptcy law.” 11 U.S.C. § 1123(d).

           36.     Courts interpreting Section 1123(d) have held that the underlying loan

agreement and state law determine whether a debtor must cure using the default rate of

interest in a Chapter 11 plan. In re New Invs., 840 F.3d at 1140–42. As the Eleventh Circuit

found, pursuant to Bankruptcy Code Section 1123(d), “a party cannot cure its default without

paying the agreed-upon default-rate interest.” JPMCC 2006–LDP7 Miami Beach Lodging, LLC

v. Sagamore Partners, Ltd. (In re Sagamore Partners, Ltd.), 620 Fed.Appx. 864, 869 (11th Cir.

2015). Other courts are in accord. See, e.g., In re 1 Ashbury Court Partners, L.L.C., 2011 WL

4712010, at *5 (Bankr. D. Kan. 2011) (finding that a debtor must cure using the default

interest rate in light of Bankruptcy Code Section 1123(d)); In re Moody Nat'l SHS Houston H,

LLC, 426 B.R. 667, 674 (Bankr. S.D. Tex. 2010) (holding that in order to cure a default and

reinstate a loan, a lender is entitled to the default rate of interest in accordance with the

underlying agreement and applicable state law).

           37.     The Eastern District of New York Bankruptcy Court addressed a similar plan

to the one proposed here In re Yeshivah Ohel Moshe, 567 B.R. 438 (Bankr. EDNY 2017).2 In


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    Counsel for the debtor in that case was the same counsel to the Debtor in this case.


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that case the debtor proposed “curing” its pre-petition default to its secured lender by only

paying non-default interest and expressly disclaiming liability for default interest. Id. at 433.

In denying approval of that disclosure statement the court held:

       that in proposing a Chapter 11 plan, a debtor cannot disregard Section 1123(d)
       and cure a default under Section 1124(2) by paying the arrears at the non-
       default rate of interest. “Because the ‘denial of a mortgagee's contractual right
       to interest at a default rate does ‘alter’ the secured creditor's contractual rights
       within the meaning of subsection (D) of Section 1124(2) ... Section 1124(2) ...
       does not provide a statutory basis for judicial nullification of a contract right to
       default rate interest.’ ” In re 139–141 Owners Corp., 313 B.R. 364, 368 (S.D.N.Y.
       2004) (quoting In re 139–141 Owners Corp., 306 B.R. 763, 768 (Bankr. S.D.N.Y.
       2004)).

Id. at 446.

       38.    Here, the Plan proposes only paying Avonwood Credit non-default interest.

Disclosure Statement at 12. The Plan does not contemplate paying default interest or other

fees and expenses set forth in the loan documents even though the underlying loan agreement

requires – and Connecticut law permits – the payment of default interest rate following a

default. Specifically, the Mortgages provide that upon an Event of Default, “interest shall

immediately accrue at a ‘default rate’ which means the rate of interest which is Eighteen (18%)

percent per annum, but in no event to exceed the maximum rate allowed by law.” See

$25,312,500 Note at ¶7, $2,687,500 Note at 6. Under Connecticut law, “a refusal to award

the interest rate agreed to by the parties under the note upon default would amount to the

court improperly remaking the contract of the parties.” Fannie Mae v. Bridgeport Portfolio, LLC,

2013 WL 1111954, *1 (Sup. Ct. CT Feb. 20, 2013) quoting F.D.I.C, as Receiver v. 20 Sisson

Street Associates, Superior Court, judicial district of Fairfield at Bridgeport, Docket No. CV

910395128 (August 10, 1993, Aurigemma, J.). Additionally, courts have held that a contract

term that provides for a default rate of 18 percent is enforceable under Connecticut state law.



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See Emigrant Mortg., Co. v. D'Agostino, 94 Conn. App. 793, 896 A.2d 814, 823 (2006) (holding

that default interest rate of 18% was enforceable and rejecting defense that such default rate

was “unconscionable”.). Accordingly, the Plan’s failure to provide Avonwood Credit with

its contracted for payment terms is not confirmable and approval of the Disclosure Statement

premised upon such a Plan should be denied as it was In re Yeshivah Ohel Moshe.

       39.    Avonwood Credit expressly reserves its rights to raise these and additional

arguments at any hearing regarding Plan confirmation.




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                                       CONCLUSION

       WHEREFORE, Avonwood Credit respectfully requests that this Court enter an order

that (i) denies approval of the Disclosure Statement; and (2) grants Avonwood Credit such

relief as this Court deems just and equitable.


Dated: New York, New York
       June 4, 2025
                                            THOMPSON COBURN LLP



                                            By: /s/ Joseph Orbach__________
                                                Steven J. Mandelsberg
                                                Joseph Orbach
                                                488 Madison Avenue
                                                New York, NY 10022
                                                Telephone: 212-478-7200
                                                Fax: 212-478-7400
                                                smandelsberg@thompsoncoburn.com
                                                jorbach@thompsoncoburn.com

                                                 Attorneys for Secured Creditor 44 Avonwood Road
                                                 Credit LLC




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